  Case:
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                   United States Court of Appeals
                                  FIFTH CIRCUIT
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                            February 08, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 20-40532     Trudeau v. Univ of N TX
                       USDC No. 4:19-CV-723

The court has granted in part an extension of time to and including
February 26, 2021 for filing a reply brief in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Christina C. Rachal, Deputy Clerk
                                   504-310-7651
Mr.   Matthew Tyler Bohuslav
Ms.   Rola Daaboul
Mr.   Michael Patrick Kelly
Mr.   David O'Toole
